USCA4 Appeal: 21-7443 Doc: 20 Filed: 11/08/2021 Pg: 1o0f5

UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
INFORMAL BRIEF

No. 21-7443, Keith Lowe v. Sherri Johnson
2:17-cv-02345

1. Declaration of Inmate Filing
An inmate's notice of appeal is timely if it was deposited in the institution's internal
mail system, with postage prepaid, on or before the last day for filing. Timely
filing may be shown by:
¢ apostmark or date stamp showing that the notice of appeal was timely
deposited in the institution's internal mail system, with postage prepaid, or
¢ adeclaration of the inmate, under penalty of perjury, of the date on which
the notice of appeal was deposited in the institution's internal mail system
with postage prepaid. To include a declaration of inmate filing as part of
your informal brief, complete and sign the declaration below:

 

 

Declaration of Inmate Filing

Date NOTICE OF APPEAL deposited in institution's mail system: _ y3 Y a

I am an inmate confined in an institution and deposited my notice of appeal in the
institution's internal mail system. First-class postage was prepaid either by me or by the
institution on my behalf.

I declare under penalty of perjury that the foregoing is true and correct (see 28 U.S.C. §
1746; 18 U.S.C. § 1621).

Signature: VY I Am Date: io/2 Ux.

[Note to inmateYilers: If your institution has a system designed ‘for legal mail, you must
use that system in order to receive the timing benefit of Fed. R. App. P. 4(c)(1) or Fed.

R. App. P. 25(a)(2)(A) (iii).

 

 

 

2. Jurisdiction
Name of court or agency from which review is sought: U-S -Nistney Court, WV.

Date(s) of order or orders for which review is sought:

3. Issues for Review

Use the following spaces to set forth the facts and argument in support of the issues
you wish the Court of Appeals to consider. The parties may cite case law, but
citations are not required.

Issue 1.
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Issue 2.

Supporting Facts and Argument.

Issue 3.

Supporting Facts and Argument.

Issue 4.

Supporting Facts and Argument
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4. Relief Requested
Identify the precise action you want the Court of Appeals to take:

5. Prior appeals (for appellants only)
A. Have you filed other cases in this court? Yes [¥] No [ ]

B. If you checked YES, what are the case names and docket numbers for those
appeals and what was the ultimate disposition of each?

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fom «fe
KEW Lowel
[Please Print Your Name Here]
CERTIFICATE OF SERVICE

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I certify that on I served a copy of this Informal Brief on all parties,
addressed as shown below:

 

Signature

 

 

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“*" Correspondence from an
_~ Inmate at Mount Olive
-*~ Correctional Complex and Jail

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